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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE:                                        )      Chapter 11
                                              )      Case No. 19-07338
WALTER POSNER,                                )
                                              )      Hon. Jacqueline P. Cox
         Debtor.                              )      Room 680
                                              )      Hearing Date: September 29, 2020
                                              )      Hearing Time: 1:30 p.m.

                                     NOTICE OF FILING

To:      See Attached Service List

        PLEASE TAKE NOTICE THAT on September 25, 2020, we caused to be filed with the
Clerk of the United States Bankruptcy Court for the Northern District of Illinois, Eastern Division,
the attached REPORT OF BALLOTING, a copy of which is attached hereto.

                                              WALTER POSNER, Debtor


                                              By:      /s/ Ariel Weissberg
                                                         One of his attorneys


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                                CERTIFICATE OF SERVICE

        I, Ariel Weissberg, certify that on September 25, 2020, I caused to be filed REPORT OF
BALLOTING. Notice of this filing was sent to all parties registered to receive notice in this case
by electronic transmission through the court’s CM/ECF system, including the following:

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                               ______/s/ Ariel Weissberg ____
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